            Case 2:17-cv-01731-TSZ Document 134 Filed 06/07/19 Page 1 of 8



1                                                                 The Honorable Thomas S. Zilly

2

3

4

5

6

7

8                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
9                                      AT SEATTLE
10
          STRIKE 3 HOLDINGS, LLC, a
11        Delaware corporation,                         No. 2:17-cv-01731-TSZ

12                              Plaintiff,              PLAINTIFF’S REPLY IN FURTHER
                                                        SUPPORT OF MOTION TO COMPEL
13                v.                                    PRODUCTION OF DEFENDANT’S
                                                        HARD DRIVES
14        JOHN DOE, subscriber assigned IP
          address 73.225.38.130,                        Noted on Motion Calendar:
15                                                      June 7, 2019
                                Defendant.
16

17

18            Counter-Defendant, Strike 3 Holdings, LLC (“Strike 3” or “Plaintiff”), respectfully
19   requests that this Court grant its Motion to Compel Production of Defendant’s (“Counter-
20   Plaintiff” or “Defendant”) Hard Drives, and in further support, states:
21   I.       INTRODUCTION
22            Defendant’s Response to Plaintiff’s Motion to Compel Production of Hard Drives
23   (“Response”) essentially claims that he retained an expert (Mr. Yasumoto) to image,
24   examine, and create an expert report (which he intends on using at trial) concerning only
25   one of over a hundred hard drives that are located at Defendant’s house. And this single
26   Hard Drive, Defendant’s Response implausibly contends, is entirely irrelevant. Defendant
     PLAINTIFF’S REPLY IN FURTHER SUPPORT OF
     MOTION TO COMPEL PRODUCTION
     OF DEFENDANT’S HARD DRIVES
     No. 2:17-cv-01731-TSZ – Page 1
           Case 2:17-cv-01731-TSZ Document 134 Filed 06/07/19 Page 2 of 8



1    also expects to be allowed to withhold from Plaintiff the ability to access the very evidence

2    upon which Mr. Yasumoto’s expert report is based. Although Defendant offers a keyword

3    search alternative, such a search protocol is unreasonable since it would not produce any

4    relevant results on a wiped hard drive. Further, in this case, Plaintiff recently confirmed

5    that wiping has occurred on a hard drive which was located in Defendant’s house during the

6    period of infringement and which is the one hard drive that appears to be the most relevant

7    to this case, if not entirely dispositive of it. Lastly, all of the factors outlined in Fed. R. Civ.

8    P. 26(a)(1) weigh in Plaintiff’s favor since the Hard Drives are central to the claims in this

9    case, the amount in controversy is substantial, Defendant has easy access to the Hard
10   Drives,1 Plaintiff is willing to bear the cost of imaging, production of the Hard Drives can

11   potentially resolve the claims, and the burden and expense do not outweigh the likely

12   benefit of production. Nothing in Defendant’s Response negates this.

13            For the foregoing reasons, as explained more fully below, Plaintiff respectfully

14   requests that this Court grant its Motion to Compel Production of Defendant’s Hard

15   Drives.2

16   II.      ARGUMENTS

17            A. Defendant’s Search String Proposal is Unreasonable

18            Defendant previously proposed an ESI protocol which limits Strike 3’s Hard Drive

19   examination to “search strings.” However, as Plaintiff previously explained in its Motion, a
20   key word search protocol is unreasonable because the results may exclude extremely

21

22
     1
       Plaintiff’s Motion to Compel Production of Defendant’s Hard Drives seeks production of ‘two’ Hard Drives
     Plaintiff believed Michael Yasumoto examined and used as basis for his Expert Report. However,
23   Defendant’s Response contends that Mr. Yasumoto only examined one Hard Drive – an Asus brand computer.
     The confusion lies in Mr. Yasumoto’s expert report as it is unclear whether the Seagate hard drive is distinct
24   from the Asus hard drive. Regardless, to be clear, Plaintiff’s motion only seeks production of the Hard
     Drive(s) Mr. Yasumoto examined.
25   2
       Strike 3 is still willing to adopt reasonable proposals to protect attorney-client communications, attorney-
26   work product, and other confidential information such as passwords, Social Security numbers, and banking
     information.
     PLAINTIFF’S REPLY IN FURTHER SUPPORT OF
     MOTION TO COMPEL PRODUCTION
     OF DEFENDANT’S HARD DRIVES
     No. 2:17-cv-01731-TSZ – Page 2
              Case 2:17-cv-01731-TSZ Document 134 Filed 06/07/19 Page 3 of 8



1    relevant evidence. For example, key word searches preclude an expert from confirming the

2    fact that the Hard Drives do belong to the Defendant. Additionally, key word searches

3    cannot account for the renaming or deletion of files. Finally, Plaintiff’s expert would need

4    confirmation that the Hard Drives have not been wiped. Indeed, wiping a hard drive could

5    clearly impact any search result. For example, Plaintiff recently discovered that during the

6    course of this lawsuit another hard drive located in Defendant’s home was wiped.3 To

7    explain, since filing its Motion, Strike 3 has continued discovery and recently deposed

8    Defendant’s son (“Son”). During his deposition, the Son confirmed that he had another

9    computer in his room during the relevant period of infringement. He also testified that he
10   had used this computer to, through the use of Bittorrent, go to the “Pirate Bay” website to

11   download adult motion pictures. Finally, he testified that after learning of this lawsuit,

12   together he and Defendant dismantled that computer and wiped that hard drive. To be

13   clear, this wiped hard drive is an entirely different hard drive than the one that is the subject

14   of Plaintiff’s Motion to Compel. However, since Defendant has already wiped a computer

15   that was clearly relevant to this lawsuit, his use of wiping software on all relevant devices is

16   critical in this case. And his use of wiping software is exactly why a search string is not

17   proper during examination of any Hard Drives. Indeed, neither Plaintiff nor its expert

18   would be surprised if a search of the term “Vixen” would yield no results on the Son’s

19   wiped hard drive or any wiped hard drive. From what Strike 3 was able to uncover during
20   the Son’s deposition, although a number of the Son’s computer parts were sold,4 the wiped

21   hard drive is still located in Defendant’s home. When asked why the Son did not sell the

22   wiped hard drive along with the rest of the parts, he testified that he feared a third party

23

24   3
      Although Plaintiff does not yet have the Son’s deposition transcript, to the best of Plaintiff’s knowledge, the
25   Son testified that he and Defendant wiped that hard drive and that Defendant still has possession of that hard
     drive.
26   4
         Again, to be clear, parts of possibly relevant computers were disposed of during the pendency of this lawsuit.
     PLAINTIFF’S REPLY IN FURTHER SUPPORT OF
     MOTION TO COMPEL PRODUCTION
     OF DEFENDANT’S HARD DRIVES
     No. 2:17-cv-01731-TSZ – Page 3
          Case 2:17-cv-01731-TSZ Document 134 Filed 06/07/19 Page 4 of 8



1    might still be able to recover some information from it. Plaintiff certainly intends to find

2    out if the Son is right and thus intends on filing another motion to compel production of that

3    wiped hard drive as soon as it receives the deposition transcript.

4           B. Contents of Defendant’s Computer Can Potentially Resolve the Claims in

5               this Case

6               1. Defendant’s Computer is Related to His Counterclaim of Declaratory

7                   Judgment of Non-Infringement

8           Defendant argues that his Hard Drives are not relevant to his Declaratory Judgment

9    of Non-Infringement Counterclaim. But Defendant’s counterclaim outright states that he
10   “did not [commit any of] the 80 allegations of infringement, or [infringe] any works

11   marketed under the Vixen, Tushy, and Blacked websites.” Dkt. No. 64, ¶31. Further,

12   Defendant alleges that he “has not infringed any of [Plaintiff’s] rights under 17 U.S.C. §106

13   nor […] infringed any of [Plaintiff’s] rights under 17 U.S.C. §105.” Disturbingly, with

14   respect to his Declaratory Judgment of Non-Infringement claim, Defendant’s Response

15   argues that since he “does not bear the burden of proof on infringement[,]” Plaintiff’s

16   position that the Hard Drives are important to prove infringement is “incomplete or non-

17   sensical.” Dkt. No. 130, p. 7. However, Defendant’s Counterclaim states that “[a] case and

18   controversy exists between [Plaintiff] and [Defendant] regarding the alleged infringement

19   of the works[.]” Dkt. No. 64, ¶29. Further, in support of his request for production of IPP’s
20   software, Defendant previously argued that, “[w]hether it is a direct action for copyright

21   infringement, or declaratory relief action of non-infringement by a Defendant, the owner of

22   the copyright always has the burden of proof in an action for a declaratory judgment[.]

23   [And] [t]o meet its burden, [Plaintiff] must establish that [Defendant] copied [Plaintiff’s]

24   works[.]” Dkt. No. 94, p. 12. Defendant went on to state, “[b]ecause the software is

25   central to whether [Plaintiff] can establish [Defendant] copied its works, the software must

26   be produced.” Dkt. No. 94, p. 12. Since the Hard Drive can be used to establish

     PLAINTIFF’S REPLY IN FURTHER SUPPORT OF
     MOTION TO COMPEL PRODUCTION
     OF DEFENDANT’S HARD DRIVES
     No. 2:17-cv-01731-TSZ – Page 4
          Case 2:17-cv-01731-TSZ Document 134 Filed 06/07/19 Page 5 of 8



1    Defendant’s infringement of Plaintiff’s works (or covered up infringement by wiping the

2    device), Defendant’s argument is entirely disingenuous.

3               2. Defendant’s Computer is Related to His Counterclaim of Abuse of Process

4           Defendant’s Response also argues that the Hard Drives are not relevant to his Abuse

5    of Process Counterclaim. However, Defendant’s counterclaim states that Plaintiff is liable

6    for Abuse of Process because it has “no evidence of infringement” (Dkt. No. 64, ¶¶70-71)

7    and “no intention of litigating” (See Dkt. No. 64, ¶¶58-60 and ¶73). Defendant also accuses

8    Plaintiff of “extortion” and “sham litigation.” As such, the very existence of evidence

9    establishing infringement goes to the heart of Defendant’s abuse of process claim. Indeed,
10   Defendant accuses Plaintiff of filing baseless lawsuits merely to obtain settlement money

11   from Defendants. Plaintiff submits that any evidence establishing infringement or evidence

12   providing a basis for Plaintiff’s claims is relevant. And, respectfully, Plaintiff’s pursuit of

13   that very evidence (despite Defendant’s unwillingness to provide it) demonstrably

14   disproves his claim that Plaintiff does not litigate.

15          C. The Amount in Controversy is Substantial Enough to Warrant Production

16              of this Material Evidence

17          Given Defendant’s own expert’s statements that the amount in controversy (the

18   ongoing legal fees) is substantial, and Plaintiff’s willingness to cover the cost of imaging

19   and examination, this second factor weighs in favor of permitting production.
20          D. Defendant Has Easy Access to His Hard Drives

21          Defendant confusingly argues that since Plaintiff “already has access to significant

22   information” from IPP’s monitoring system, production of the Hard Drives is not necessary.

23   However, this factor is concerned with each of the parties’ access to the requested evidence,

24   i.e., the parties’ access to the Hard Drives. Broxson v. Lakewest Condo. Ass'n, No. C16-

25   0462-JCC, 2017 WL 1330498, at *4 (W.D. Wash. Apr. 11, 2017) (In considering “the

26   parties’ relative access to relevant information” factor under Fed. R. Civ. P. 26(b)(1), the

     PLAINTIFF’S REPLY IN FURTHER SUPPORT OF
     MOTION TO COMPEL PRODUCTION
     OF DEFENDANT’S HARD DRIVES
     No. 2:17-cv-01731-TSZ – Page 5
            Case 2:17-cv-01731-TSZ Document 134 Filed 06/07/19 Page 6 of 8



1    Court noted that the responding party had much better access to the requested documents

2    than the requesting party). Here, Defendant has far better access to his Hard Drives.

3    Indeed, Plaintiff has no way to access the Hard Drives at all. Thus, this factor weighs in

4    Plaintiff’s favor.

5            E. Production of the Hard Drives Will Not Be A Burden on Defendant

6            Defendant’s Response argues that Plaintiff’s expense analysis fails to account for

7    the cost of having defense counsel inspect the Hard Drives to determine if they contain

8    personal and confidential information. Plaintiff did not account for this expense because it

9    is entirely unnecessary. Defense counsel need not examine each entire Hard Drive bit by
10   bit to evaluate whether private information exists. The parties need to only agree on (or the

11   Court should order) a proper protocol to ensure such private information is not shared with

12   Plaintiff. Further, Plaintiff’s proposed protocol already addresses this issue. And,

13   Defendant’s Response fails to state why Plaintiff’s protocol is insufficient.

14           F. The Burden and Expense do not Outweigh the Likely Benefit

15           There simply is no burden or expense to Doe here. The likely benefit is clear based

16   on the fact that the Hard Drives are material evidence. In fact, the evidence was so

17   important that defense counsel had the Hard Drives imaged and examined.

18   III.    CONCLUSION

19           For the foregoing reasons, Plaintiff respectfully requests that it’s Motion to Compel
20   Production of Hard Drives be granted in its entirety.

21

22

23

24

25

26

     PLAINTIFF’S REPLY IN FURTHER SUPPORT OF
     MOTION TO COMPEL PRODUCTION
     OF DEFENDANT’S HARD DRIVES
     No. 2:17-cv-01731-TSZ – Page 6
          Case 2:17-cv-01731-TSZ Document 134 Filed 06/07/19 Page 7 of 8



1    DATED this 7th day of June, 2019
                                         LAW OFFICES OF
2                                        LINCOLN BANDLOW, PC
3                                        By: /s/ Lincoln Bandlow
                                         Lincoln D. Bandlow, Admitted Pro Hac Vice
4                                        1801 Century Park East
                                         Suite 2400
5                                        Los Angeles, CA 90067
                                         Telephone: 310-556-9680
6                                        Facsimile: 310-861-5550
                                         Email: lincoln@bandlowlaw.com
7
                                         THE ATKIN FIRM, LLC
8
                                         By: /s/ John C. Atkin
9                                        John C. Atkin, Admitted Pro Hac Vice
                                         55 Madison Avenue, Suite 400
10                                       Morristown, New Jersey 07960
                                         Telephone: (973) 285-3239
11                                       Email: jatkin@atkinfirm.com
12                                       ARETE LAW GROUP PLLC
13                                       By: /s/ Jeremy E. Roller
                                         Jeremy E. Roller, WSBA #32021
14                                       1218 Third Avenue, Suite 2100
                                         Seattle, Washington 98101
15                                       Telephone: (206) 428-3250
                                         Facsimile: (206) 428-3251
16                                       Email: jroller@aretelaw.com
17                                       Attorneys for Plaintiff
18

19
20

21

22

23

24

25

26

     PLAINTIFF’S REPLY IN FURTHER SUPPORT OF
     MOTION TO COMPEL PRODUCTION
     OF DEFENDANT’S HARD DRIVES
     No. 2:17-cv-01731-TSZ – Page 7
          Case 2:17-cv-01731-TSZ Document 134 Filed 06/07/19 Page 8 of 8



1                                   CERTIFICATE OF SERVICE
2            I, Jeremy Roller, hereby certify that on June 7, 2019, I electronically filed the
3    foregoing document with the Clerk of the Court using the CM/ECF system which will send
4    notification of filing to the following parties:
5
                     Adrienne D. McEntee, WSBA #34061
6
                     Beth E. Terrell, WSBA #26759
7                    Email: bterrell@terrellmarshall.com
                     amcentee@terrellmarshall.com
8                    936 North 34th Street, Suite 300
                     Seattle, Washington 98103-8869
9                    Telephone: (206) 816-6603
                     Facsimile: (206) 319-5450
10

11                   J. Curtis Edmondson, WSBA #43795
                     Email: jcedmondson@edmolaw.com
12                   EDMONDSON IP LAW
                     399 NE John Olsen Avenue Hillsboro
13                   Oregon 97124
14                   Telephone: (503) 336-3749

15                   Attorneys for Defendant

16

17   DATED this 7th day of June 2019 at Seattle, Washington.

18

19                                                      /s/ Annabel Barnes
                                                        Annabel Barnes, Legal Assistant
20

21

22

23

24

25

26

     PLAINTIFF’S REPLY IN FURTHER SUPPORT OF
     MOTION TO COMPEL PRODUCTION
     OF DEFENDANT’S HARD DRIVES
     No. 2:17-cv-01731-TSZ – Page 8
